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 8                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 9                                      TACOMA DIVISION

10   REBECCA J. VAUGHN,                                    Civil No. 3:20-CV-05790-RSM

11            Plaintiff,

12            vs.                                          ORDER

13   COMMISSIONER OF SOCIAL SECURITY,

14            Defendant.

15            Based on Defendant’s Motion, it is hereby ORDERED that the Responsive Due Date

16   shall be amended as follows:

17            Defendant shall have up to and including November 16, 2020, to file a Response to

18   Plaintiff’s Complaint, including the certified administrative record. The certified administrative

19   record shall be filed within ten days of its availability to the Office of the General Counsel, if it

20   can be filed earlier than the aforementioned date.

21            If the Commissioner is unable to file the certified administrative record by that date, the

22   Commissioner shall file another motion for extension every 28 days until the certified

23   administrative record becomes available.

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              DATED this 19th day of October, 2020.
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 4                                               A
                                                 RICARDO S. MARTINEZ
 5                                               CHIEF UNITED STATES DISTRICT JUDGE

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 8
     Presented by:
 9
     s/ Leisa A. Wolf
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     Special Assistant United States Attorney
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     Social Security Administration
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